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     Attorneys Specially Appearing for Defendants
13   Philips Taiwan Limited and Philips do Brasil Ltda.
14
                                    UNITED STATES DISTRICT COURT
15                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
16

17                                                        )   Case No. 07-5944-SC
     In re: CATHODE RAY TUBE (CRT)                        )
18   ANTITRUST LITIGATION                                 )   MDL No. 1917
                                                          )
19                                                        )   [PROPOSED] ORDER GRANTING
                                                          )   PHILIPS TAIWAN LIMITED’S AND
20                                                        )   PHILIPS DO BRASIL LTDA.’S
                                                          )   ADMINISTRATIVE MOTION TO FILE
21                                                        )   DOCUMENTS UNDER SEAL PURSUANT
                                                          )   TO CIVIL LOCAL RULES 7-11 AND 79-
22   This Document Relates to:                            )   5(D)
                                                          )
23   ALL INDIRECT PURCHASER ACTIONS                       )
                                                          )
24                                                        )
                                                          )
25                                                        )
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                                                                                       MDL 1917
28
       [PROPOSED] ORDER GRANTING PHILIPS TAIWAN LIMITED’S AND PHILIPS DO BRASIL LTDA.’S
     ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-
                          11 AND 79-5(D) (3:07-CV-05944 SC, MDL NO. 1917)
         Case 3:07-cv-05944-JST Document 2615 Filed 06/10/14 Page 2 of 2




1              Upon consideration of Philips Taiwan Limited’s and Philips do Brasil Ltda.’s

2    Administrative Motion to File Documents Under Seal Pursuant to Civil Local Rules 7-11 and 79-

3    5(d), submitted in connection with Philips Taiwan Limited’s and Philips do Brasil Ltda.’s Reply In

4    Support of Their Motion to Dismiss for Insufficient Service of Process and Lack of Jurisdiction, it is

5    hereby:

6              ORDERED that the Administrative Motion is GRANTED; and it is further

7              ORDERED that the Clerk shall file under seal Philips Taiwan Limited’s and Philips do Brasil

8    Ltda.’s Reply In Support of Their Motion to Dismiss for Insufficient Service of Process and Lack of
9    Jurisdiction and Exhibit A to the Second Declaration of Erik T. Koons in Support of Philips Taiwan
10   Limited’s and Philips Do Brasil Ltda.’s Motion To Dismiss For Insufficient Service of Process and
11   Lack of Personal Jurisdiction.
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14   Dated: June 10, 2014               , 2014

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17                                                               The Honorable Samuel Conti
18                                                               Northern District of California

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28                                                      1
       [PROPOSED] ORDER GRANTING PHILIPS TAIWAN LIMITED’S AND PHILIPS DO BRASIL LTDA.’S
     ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-
                          11 AND 79-5(D) (3:07-CV-05944 SC, MDL NO. 1917)
